Case: 1:06-cr-00367-PAG Doc #: 46 Filed: 01/22/07 1 of 4. PageID #: 166




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 UNITED STATES OF AMERICA                                : CASE NO. 1: 06 CR 367
                                                         :
                                             Plaintiff   :
                                                         : ORDER DENYING DEFENDANT
                         -vs-                            : FAWAZ DAMRA’S MOTION TO
                                                         : DISMISS PURSUANT TO FED. R.
                                                         : CRIM. P. 48 (b).
 FAYEZ DAMRA, aka Alex Damra, and                        :
 FAWAZ DAMRA,                                            :
                                                         :
                                       Defendants,       :
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UNITED STATES DISTRICT JUDGE LESLEY WELLS


        On 12 January 2007, defendant Fawaz Damra motioned the Court for a

dismissal of his indictment in this federal criminal tax case pursuant to Fed. R. Crim. P.

48(b). (Docket No. 43). The government opposes Fawaz Damra’s motion to which the

defendant has replied. (Docket No. 44, 45). For the reasons indicated the Court will

deny Fawaz Damra’s Rule 48(b) motion to dismiss.
Case: 1:06-cr-00367-PAG Doc #: 46 Filed: 01/22/07 2 of 4. PageID #: 167




       On 2 January 2007 Fawaz Damra was deported by Immigration and Customs

Enforcement (“ICE”) to the West Bank, by way of Jordan, pursuant to his request

following his previous conviction for unlawfully obtaining citizenship. News reports

suggest, and his attorney reports that, Fawaz Damra was taken into custody by Israeli

security services and is currently in Kishon Prison in Israel.

       Fawaz Damra maintains that Rule 48(b) necessitates dismissal of the above-

styled criminal tax fraud matter because of the unnecessary delay presumptively

brought about by his current circumstances. Fawaz Damra argues that Rule 48(b),

which the Advisory Committee Notes describe as “a restatement of the inherent power

of the court to dismiss a case for want of prosecution,” constitutes an independent

ground on which the Court may dismiss the indictment against him. Fawaz Damra

relies upon decisions in several circuits for the proposition that Rule 48(b) requires a

dismissal upon a showing of “unnecessary delay.” See United States v. Clay, 481 F.2d

133, 135 (7th Cir. 1973); Hodges v. United States, 408 F. 2d 543 (8th Cir. 1969); United

States v. Sears, Roebuck and Co., 877 F. 2d 734, 737-38 (9th Cir. 1989).

       The government maintains that the fact of Fawaz Damra’s deportation should not

trigger a dismissal of the instant indictment on the merits. The government contends

that had Fawaz Damra been deported prior to his indictment in this case, he would still

have been indicted and the government would then have sought an arrest warrant for

failure to appear to answer the indictment. In response to Fawaz Damra’s motion to

dismiss with prejudice, the government asks the Court to instead issue an arrest

warrant which would then be lodged with the National Crime Information Center as an

additional protection against Fawaz Damra’s future re-entry into the United States.

                                             2
Case: 1:06-cr-00367-PAG Doc #: 46 Filed: 01/22/07 3 of 4. PageID #: 168




Such a warrant would address the government’s concern that Fawaz Damra be held

accountable upon possible re-entry and, further, that he not receive the benefit of what

would effectively be an adjudication of this criminal tax case on the merits, a Rule 48(b)

dismissal with prejudice. See United States v. Pancarte-Alvarez, 366 F.3d 1058, 1063

(9th Cir. 2004). The government is effectively arguing that Fawaz Damra’s request

would bequeath to him a collateral benefit from his deportation in dismissing any future

adjudication of this case.

       In pertinent part, Rule 48(b) directs that a court “may dismiss an indictment,

information, or complaint if unnecessary delay occurs in . . . bringing a defendant to

trial.” Fed. R. Crim. P. 48(b). On its face, the rule is simply inapplicable to the instant

indictment as it is currently postured. On 9 November 2006 the Court granted Fawaz

Damra’s Motion to Continue in this criminal tax matter and the Court continues to work

with co-defendant Alex Damra on the separate issue of his own representation. (Docket

Nos. 37, 39). No “unnecessary delay” exists.

       In addition, none of the cases relied upon by Fawaz Damra support the

application of Criminal Rule 48(b) to the instant matter. In United States v. Clay, supra,

the Court found unnecessary delay where there was an eight-month delay between

arrest and indictment. In Hodges v. United States, supra, the Court found unnecessary

delay in a seventeen-month interval between indictment and trial. In United States v.

Mark II Electronics of Louisiana, Inc., 283 F. Supp 280 (E.D. La. 1968), the Court found

unnecessary delay in a case with no reported activity after the indictment until a status

conference was convened 34 months later.



                                              3
Case: 1:06-cr-00367-PAG Doc #: 46 Filed: 01/22/07 4 of 4. PageID #: 169




      Accordingly, the Court will deny Fawaz Damra’s Motion to Dismiss pursuant to

Criminal Rule 48(b). In concert with this finding, the Court will also deny Fawaz

Damra’s request for discovery and oral hearing on the issue.

      IT IS SO ORDERED.



                                           /s/Lesley Wells
                                         UNITED STATES DISTRICT JUDGE


Dated: 22 January 2007




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